Case 2:16-cv-08697-FMO-PVC Document 586 Filed 01/29/24 Page 1 of 2 Page ID #:18393
 Case 2:16-cv-08697-FMO-PVC Document 586 Filed 01/29/24 Page 2 of 2 Page ID #:18394




 1           Upon stipulation of the parties and the recommendation of the Special Master, and
 2   good cause appearing, IT IS HEREBY ORDERED as follows:
 3           1. All expert discovery shall be completed by April 5, 2024. The parties must
 4   serve their Rebuttal Expert Witness Disclosures no later than January 29, 2024.
 5           2. Any motion for summary judgment or other potentially dispositive motion
 6   shall be filed no later than July 17, 2024. Further deadlines with respect to such motions
 7   shall be as follows:
 8                 A. Meet and confer deadline:                         May 23, 2024
 9                 B. Moving party’s portion of joint brief due:        May 30, 2024
10                 C. Opposing party’s portion of joint brief due:      July 12, 2024
11                 D. Moving party to finalize joint brief:             July 15, 2024
12                 E. Opposing party to sign and return brief:          July 16, 2024
13                 F. Supplemental brief due:                           August 8, 2024
14           3. The parties shall file memoranda of contentions of fact and law; witness lists;
15   the Pretrial Exhibit Stipulation; and joint motions in limine no later than January 23,
16   2025.
17           4. The parties shall lodge their proposed Pretrial Conference Order and file the
18   Joint Jury Instructions; Disputed Jury Instructions; a joint proposed verdict form; a joint
19   statement of the case; proposed additional voir dire questions, if desired; and reply
20   memoranda to motions in limine no later than January 30, 2025.
21           5. The final pretrial conference and hearing on motions in limine will be set at a
22   date and time to be determined by the District Judge.
23           6. The trial will be set at a date and time to be determined by the District Judge.
24           7. All other terms in the Scheduling and Case Management Order re: Jury Trial,
25   filed June 5, 2019 (Dkt. 364), that are not inconsistent herewith shall remain in effect.
26           IT IS SO ORDERED.
27   Dated: January 29, 2024                              /s/ Fernando M. Olguin
                                                          U.S. DISTRICT JUDGE
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